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 8    Attorneys for Plaintiff Gabrielle Loth
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11                       UNITED STATES DISTRICT COURT
12
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
                                                ) Case No. CV 12-7843 DMG-MRW
      GABRIELLE LOTH,                           )
14
                                                )
                  Plaintiff,                    )
15
                                                ) ACKNOWLEDGEMENT OF FULL
      vs.                                       ) SATISFACTION OF JUDGMENT
16
                                                )
17
                                                )
      R.M. GALICIA, INC. d.b.a.                 )
18
                                                )
      PROGRESSIVE MANAGEMENT                    )
19    SYSTEMS,                                  )
                Defendant.                      )
20
                                                )
                                                )
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24    TO THE COURT, ALL PARTIES, AND THEIR RESPECTIVE ATTORNEYS
25    OF RECORD:
26          PLEASE TAKE NOTICE THAT, it is hereby acknowledged by plaintiff
27    GABRIELLE LOTH the full satisfaction of the final judgment entered on
28




                     ACKNOWLEDGEMENT OF FULL SATISFACTION OF JUDGMENT - Page 1
     Case 2:12-cv-07843-DMG-MRW Document 20 Filed 01/24/13 Page 2 of 2 Page ID #:70




 1    December 28, 2012 in the amount of $5,803.45 against defendant R.M. GALICIA,
 2    INC. d.b.a. PROGRESSIVE MANAGEMENT SYSTEMS.
 3

 4
      DATED: January 24, 2013                             /s/ Mark T. McClenning
                                                          Mark T. McClenning
 5                                                        Attorney for Plaintiff
                                                          Gabrielle Loth
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                    ACKNOWLEDGEMENT OF FULL SATISFACTION OF JUDGMENT - Page 2
